      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 1 of 25




                 UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

UMTED STATES OFAMERICA                   No. 1:21-CR'100-01

                                         (Judge Conner)

JOAN CICCHIELLO,                         (electronically filed)
                         Defendant

                           PLEAAGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above'

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties. and Dismissal of Other Counts

    1.   Guiltv plea. The defendant a grees to plead guilty to Count     1   of

         the Indictment, which charges the defendant with a violation of

         Title 18, United States Code, $ 1621, Perjury. The maximum

         penalty for that offense is imprisonment for a period of five

         years, a fine of $250,000, a maximum term of supervised release

         ofthree years, which shall be served at the conclusion of, and in

         addition to, any term of imprisonment, as well as the costs of
Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 2 of 25




 prosecution, imprisonment, probation, or supervised release

 ordered, denial ofcertain federal benefits, and an assessment irr

 the amount of $100. At the time the guilty plea is entered, the

 defendant shall admit to the Court that the defendant is, in fact,

 guilty ofthe offense(s) charged in that count. After sentencing,

 the United States will move for dismissal of any remaining

 counts ofthe Indictment. The defendant agrees, however, that

 the United States may, at its sole election, reinstate any

 dismissed charges, or seek additional charges, in the event that

 any guilty plea entered or sentence imposed pursuant to this

 Agreement is subsequently vacated, set aside, or invalidated by

 any court. The defendant further agrees to waive any defenses

 to reinstatement of any charges, or to the filing of additional

charges, based upon laches, the assertion of speedy trial rights,

any applicable statute of limitations, or any other ground. The

calculation of time under the Speedy Trial Act for when trial

must commence is tolled as of the date of the defendant's

signing of this Agreement, until either (a) the defendant plead.s
                             9
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 3 of 25




          guiltyi or (b) a new date is set by the Court for commencement

          of   trial.

     2.   No Further Prosecution. Exceot Tax Charees. The United

          States Attorney's Office for the Middle District of Pennsylvania

          agrees that   it will not bring any other criminal charges against

          the defendant directly arising out ofthe defendant's

          involvement in the offense(s) described above. However,

          nothing in this Agreement will limit prosecution for criminal tax

          charges, if any, arising out of those offenses.

B.   Finee andAssessments

     3.   Fine. The defendant understands that the Court may impose        a

          fine pursuant to the Sentencing Reform Act of 1984. The willful

          failure to pay any fine imposed by the Court, in full, may be

          considered a breach ofthis Plea Agreement. Further, the

          defendant acknowledges that willful failure to pay the fine may

          subject the defendant to additional criminal violations and civil

          penalties pursuant to Title 18, United States Code, $ 8611, et

          seq.
                                       .)
  Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 4 of 25




4.   Alternative Fine. The defendant understands that under the

     alternative fine section of Title 18, United States Code, $ 3571,

     the maximum frne quoted above may be increased if the Court

     finds that any person derived pecuniary gain or suffered

     pecuniary loss from the offense and that the maximum fine to

     be imposed,   if the Court elects to proceed in this fashion, could

     be twice the amount of the gross gain or twice the amount of the

     gross loss resulting from the offense.

5. Inmate Financial Responsibility       Program. If the Court orders      a

     fine or restitution as part ofthe defendant's sentence, and the

     sentence includes a term of imprisonment, the defendant agrees

     to voluntarily enter the United States Bureau of Prisons-

     administered program known as the Inmate Financial

     Responsibility Program, through which the Bureau of Prisons

     will collect up to 50%   of the defendant's prison salary, and up to

     50% ofthe balance ofthe defendant's inmate account, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.
                                    4
    Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 5 of 25




6.    Special Assessment. The defendant understands that the Court

      will impose a special assessment of $100, pursuant to the

      provisions of Title 18, United States Code, $ 3013. No later

      than the date ofsentencing, the defendant or defendant's

      counsel shall mail a check in payment of the special assessment

      firectly to the Clerk, United States District Court, Middle

      District of Pennsylvania. If the defendant intentionally fails to

      make this payment, that failure may be treated as a breach of

      this Plea Agreement and may result in further prosecution, the

      filing of additional criminal charges, or a contempt citation.

7              n   f           I          . In order to facilitate   the

      collection of financial obligations imposed in connection with

      this case, the defendant consents and agrees:

      a   to fully disclose all assets in which the defendant has an

          interest or over whieh the defendant has control, directly or

          indirectly, including those held by a spouse, nominee, or

          other third partyi



                                   5
Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 6 of 25




 b.   to submit to interviews by the Government regarding the

      defendant's financial statusi

 C    to submit a complete, accurate, and truthful financial

      statement, on the form provided by the Government, to the

      United States Attorney's Office no later than 14 days

      following entry of the guilty pleai

 d.   whether represented by counsel or not, to consent to contact

      by and communication with the Government, and to waive

      any prohibition against communication with a represented

      party by the Government regarding the defendant's

      financial statusi

 e.   to authorize the Government to obtain the defendant's

      credit reports in order to evaluate the defendant's ability to

      satisfu any financial obligations imposed by the Courti and

 f.   to submit any financial information requested by the

      Probation Office as directed, and to the sharing offinancial

      information between the Government and the Probation

      Office.
                               6
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 7 of 25




C.   Sentencing Guidelines Calculation

     8.   Determination of S entencins Guidelines. The defendant and

          counsel for both parties agree that the United States Sentencing

          Commission Guidelines, which took effect on November 1, 1987,

          and its amendments (the "sentencing Guidelines"), will apply to

          the offense or offenses to which the defendant is pleading guilty.

          The defendant understands that the Sentencing Guidelines are

          advisory and not binding on the Court. The defendant further

          agrees that any legal and factual issues relating to the

          application of the Sentencing Guidelines to the defendant's

          conduct, including facts to support any specific offense

          characteristic or other enhancement or adjustment and the

          appropriate sentence within the statutory maximums provided

          for by law, will be determined by the Court after briefing, a pre-

          sentence hearing, or a sentencing hearing.

     9.   Acceptance ofRes ponsibility- Tw        ee   Levels. Ifthe

          defendant can adequately demonstrate reco        tion and

          affirmative acceptance of responsibility to the Government as
  Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 8 of 25




   requi-red by the Sentencing Guidelines, the Government        will
   recommend that the defendant receive a two- or three-Ievel

   reduction in the defendant's offense level for acceptance of

   responsibility. The third level, if applicable, shall be within the

   discretion of the Government under U.S.S.G. $ 381.1. The

   failure of the Court to find that the defendant is entitled to     a

   reduction shall not be a basis to void this Agreement.

10. Snecffic Sentencins Guidelines Recommendations. With respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

   The base offense level under U.S.S.G.    S   211.3 is 14 and the

   defendant is only subject to a two Ievel increaee in the offense
                     --..,
   level for role in the offense under U.S.S.G. $ S81.1(c). Each

   party reserves the right to make whatever remaining

   arguments   it   deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The parties agree that a sentence within

   this range ofthe Sentencing Guidelines is a reasonable sentence
                                 8
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 9 of 25




           under the facts and circumstances ofthis case. The defendant

           understands that any recommendations are not binding upon

           either the Court or the United States Probation Office, which

           may make different findings as to the application of the

           Sentencing Guidelines to the defendant's conduct. The

           defendant further understands that the United States   will
           provide the Court and the United States Probation Office aII
                                                            .--
           information in its possession that it deems relevant to the

           application of the Sentencing Guidelines to the defendant's

           conduct.

D.   Sentencine R€commendation

     11.   Aopropriate Sente     Recommendation. At the time of

           sentencing, the United States may make a recommendation

           that it considers appropriate based upon the nature and

           circumstances of the case and the defendant's participation   in

           the offense, and specifically reserves the right to recommend a

           sentence up to and including the maximum sentence of



                                       I
 Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 10 of 25




   imprisonment and fine allowable, together with the cost of

   prosecution.

12. Special Conditions of Probation/Supervised Release.    If
   probation or a term ofsupervised release is ordered, the United

   States may recommend that the Court impose one or more

   special conditions, including but not limited to the following:

   a    The defendant be prohibited from possessing a firearm or

        other dangerous weapon.

   b.   The defendant make restitution, if applicable, the payment

        of which shall be   in accordance with a schedule to   be

        determined by the Court.

   c.   The defendant pay any fine imposed in accordance with a

        schedule to be determined by the Court.

   d.   The defendant be prohibited from incurring new credit

        charges or opening additional lines of credit without

        approval ofthe Probation Office unless the defendant is in

        compliance with the payment schedule.



                                 10
Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 11 of 25




  e    The defendant be directed to provide the Probation Office

       and the United States Attorney access to any requested

       financial information.

  f.   The defendant be confined in a community treatment

       center, halfway house, or similar facility.

  g.       defendant be placed under home confinement.
       The --

  h.   The defendant be ordered to perform community service.

  1    The defendant be restricted from working in certain types of

       occupations or with certain individuals if the Government

       deems such restrictions to be appropriate.

  j.   The defendant be directed to attend substance abuse

       counseling, which may include testing to determine whether

       the defendant is using drugs or alcohol.

  k.   The defendant be directed to attend psychiatric or

       psychological counseling and treatment in a program

       approved by the Probation Officer.

  I.   The defendant be denied certain federal benefits including

       contracts, grants, loans, fellowships, and licenses.
                                11
 Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 12 of 25




   m. The defendant   be directed to pay any state or federal taxes

       and file any and all state and federal tax returns as

       required by law.

13. Destruction Order/IVaivers. The defendant further agrees,

   should the United States deem    it appropriate,   to the destruction

   of the items seized during the course of the investigation. The

   defendant agrees that the items may be destroyed by the

   investigative agency with or without a court order authorizing

   the destruction of the items seized. If the United States

   determines that a destruction order should be obtained, the

   defendant and defendant's counsel hereby concur in a motion for

   such an order. The defendant further agrees to waive all

   interest in the assets in any administrative orjudicial forfeiture

   proceeding, whether criminal or civil, state, or federal. The

   defendant consents and waives all rights to compliance by the

   United States with any applicable deadlines under      18 U.S.C.   S



   983(d. Any related administrative claim filed by the defendant

   is hereby withdrawn. The defendant agrees to consent to the
                               l2
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 13 of 25




         entry oforders offorfeiture for such property and waives the

         requirements of Federal Rules of Criminal Procedure 32.2 and

         43(a) regarding notice of the forfeiture in the charging

         instrument, announcement of the forfeiture at sentencing, and

        incorporation of forfeiture in the judgment.

E.   Information Provided to Court and Probation Ofice

     14. Backeround Information for Probation Office. The defendant

        understands that the United States will provide to the United

        States Probation Office all information in its possession that the

        United States deems relevant regarding the defendant's

        background, character, cooperation, ifany, and involvement in

        this or other offenses.

     15. Obiections to Pre -Sentence Report. The defendant understands

        that pursuant to the United States District Court for the Middle

        District of Pennsylvania's "Policy for Guideline Sentencing,"

        both the United States and defendant must communicate to the

        Probation Officer within 14 days after disclosure of the pre-

        sentence report any objections they may have as to material
                                    13
Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 14 of 25




  information, sentencing classifications, applicable Sentencing

  Guidelines ranges, and policy statements contained in or

  omitted from the report. The defendant agrees to meet with the

  United States at Ieast five days prior to sentencing in a good

 faith attempt to resolve any substantive differences. If any

  issues remain unresolved, they shall be communicated to the

 Probation Officer for inclusion in an addendum to the pre-

 sentence report. The defendant agrees that unresolved

 substantive objections will be decided by the Court after

 briefing, a pre-sentence hearing, or at the sentencing hearing,

 where the standard or proofwill be a preponderance ofthe

 evidence, and the Federal Rules ofEvidence, other than with

 respect to privileges, shall not apply under Fed. R. Evid.

 1101(dX3), and the Court may consider any reliable evidence,

 including hearsay. Objections by the defendant to the pre-
  ...-
 sentence report or the Court's rulings,   will not be grounds for

 withdrawal of a plea of guilty.


                             t4
Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 15 of 25




16. Relevant Sentencine Info rmation. At sentencin g, the United

   States will be permitted to bring to the Court's attention, and

   the Court will be permitted to consider, all relevant information

   about the defendant's background, character and conduct,

   including the conduct that is the subject ofthe charges that the

   United States has agreed to dismiss, and the nature and extent

   of the defendant's cooperation,   if any. The United States will   be

   entitled to bring to the Court's attention and the Court will be

   entitled to consider any failure by the defendant to fulfill any

   obligation under this Agreement.

17. Non-Limitation on Government 's Response. Noth ing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on

   behalf of the defendant. Nor does this Agreement in any way

   restrict the Government in responding to any request by the

   Court for briefing, argument or presentation ofevidence

   regarding the application of Sentencing Guidelines to the



                               15
       Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 16 of 25




        defendant's conduct, including but not limited to, requests for

        information concerning possible sentencing departures.

F.   Court Not Bound by Plea Areement

     18. Court Not Bound bv Terms. The defendant understands that

        the Court is not a party to and is not bound by this Agreement,

        or by any recommendations made by the parties. Thus, the

        Court is free to impose upon the defendant any sentence up to

        and including the maximum sentence of imprisonment for five

        years, a frne of $250,000, a maximum term of supervised release

        of up to three years, which shall be served at the conclusion of

        and in addition to any term of imprisonment, the costs of

        prosecution, denial of certain federal benefits, and assessments

        totaling $100.

     19. No Withdrawal of Plea Based on Sentence or Recommendations.

        If the Court imposes a sentence with which the defendant is

        dissatisfred, the defendant will not be permitted to withdraw

        any guilty plea for that reason alone, nor will the defendant be

        permitted to withdraw any guilty plea should the Court decline
                                     16
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 17 of 25




        to follow any recommendations by any of the parties to this

        Agreement.

G.   Breach of PleaAgreement by Defendant

     20. Breach of      ment. In the event the United States believes

        the defendant has failed to fulfill any obligation under this

        Agreement, then the United States shall, in its discretion, have

        the option ofpetitioning the Court to be relieved ofits

        obligations under this Agteement. Whether the defendant has

        completely fulfi.Iled all of the obligations under this Agreement

        shall be determined by the Court in an appropriate proceeding,

        during which any disclosures and documents provided by the

        defendant shall be admissible, and during which the United

        States sha1I be required to establish any breach by a

        preponderance ofthe evidence. In order to establish any breach

        by the defendant, the United States is entitled to rely on

        statements and evidence given by the defendant during the

        cooperation phase of this Agreement, if any.



                                    L7
 Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 18 of 25




21. Remedies for Breach. The defendant and the United States

   agree that in the event the Court concludes that the defendant

   has breached the Agreement:

   a    The defendant will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

   b.   The United States will be free to make any
                               __.---l-




        recommendations to the Court regarding sentencing in this

        CdS€,


   c    Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencingsi

   d.   The United States will be free to bring any other charges   it
        has against the defendant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time of the plea. The defendant

        waives and hereby agrees not to raise any defense to the

        reinstatement ofthese charges based upon collateral
                               18
 Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 19 of 25




          estoppel, Double Jeopardy, statute of limitations, assertion

          of Speedy Trial rights, or other similar grounds.

22.   Yiolation   of La w While Plea or Sente nce P e n dino . The

      defendant understands that      it is a condition   of this Agreement

      that the defendant refrain from any further violations ofstate,

      Iocal, or federal law while awaiting plea and sentencing. The

      defendant acknowledges and agrees that if the Government

      receives information that the defendant has committed new

      crimes while awaiting plea or sentencing in this case, the

      Government may petition the Court and, if the Court finds by a

      preponderance ofthe evidence that the defendant has

      committed any other criminal offense while awaiting plea or

      sentencing, the Government shall be free at its sole election to

      either:   (a)   withdraw from this Agreementi or (b) make any

      sentencing recommendations to the Court that          it   deems

      appropriate. The defendant further understands and agrees

      that, if the Court finds that the defendant has committed any

      other offense while awaiting plea or sentencing, the defendant
                                     19
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 20 of 25




        will not be permitted to withdraw any guilty pleas tendered

        pursuant to this Agreement, and the government wi-Il be

        permitted to bring any additional charges that it may have

        against the defendant.

H.   Deportation

     23. Deportation/Removal from the United States. The defendant

        understands that, if defendant is not a United States citizen,

        deportation/removal from the United States is a consequence of

        this plea. The defendant further agrees that this matter has

        been discussed with counsel who has explained the immigration

        consequences   ofthis plea. The defendant still desires to enter

        into this plea after having been so advised.

I.   Appeal Waiver

     24. Appeal Waiver   -   DAeet. The defendant is aware that   fitle   28,

        United States Code, $ 1291 affords a defendant the right to

        appeal a judgment ofconviction and sentencei and that Title 18,

        United States Code, $ 3742(a) affords a defendant the right to

        appeal the sentence imposed. Acknowledging all of this, the
                                      20
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 21 of 25




         defendant knowingly waives the right to appeal the conviction

         and sentence. This waiver includes any and all possible

         grounds for appeal, whether constitutional or non-

         constitutional, including, but not limited to, the manner in

         which that sentence was determined in light of United States       v.


         Booker,543 U.S. 22O OO}il. The defendant further

         acknowledges that this appeal waiver is binding only upon the

         defendant and that the United States retains its right to appeal

        in this   case.

J.   Other Provisions

     25. Aereement Not Bindine on Other Aeencies. Nothing in this

        Agreement shall bind any other United States Attorney's OfEce,

        state prosecutor's office, or federal, state, or local law

        enforcement agency.

     26. No CiYil C       s or   Suits. The defendant a grees not to pursue or

        initiate any civil claims or suits against the United States of

        America, its agencies or employees, whether or not presently

        known to the defendant, arising out ofthe investigation,
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 Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 22 of 25




   prosecution or cooperation, ifany, covered by this Agreement,

   including but not limited to any claims for attorney's fees and

   other litigation expenses arising out ofthe investigation and

   prosecution of this matter. By the defendant's guilty plea in

   this matter the defendant further acknowledges that the

   Government's position in this Iitigation was taken in good faith,

   had a substantial basis in law and fact and was not vexatious.

27. Plea Asreement Serve s Ends of Justice. The United States is

   entering this Agreement with the defendant because this

   disposition of the matter fairly and adequately addresses the

   gravity of the offense(s) from which the charge(s) is/are drawn,

   as well as the defendant's role    in such offense(s), thereby

   serving the ends ofjustice.

28. Merger of AII Prior Neeotiations. This document states the

   complete and only Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea
                                 22
 Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 23 of 25




    offers, , whether written or oral. This agreement cannot be

    modified other than in writing that is signed by all parties or on

    the record in court. No other promises or inducements have

    been or will be made to the defendant in connection with this

    case, nor have any   prefictions or threats been made in

    connection with this plea. Pursuant to RuIe 11 ofthe Federal

    Rules of Criminal Procedure, the defendant certifies that the

    defendant's plea is knowing and voluntary and is not the result

    offorce or threats or promises apart from those promises set

    forth in this Agreement.

29. Defendant is Satisfic<l with Assista nce of Counsel. The

    Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

   has advised the defendant ofthe defendant's Constitutional and

   other trial and appellate rights, the nature ofthe charges, the

   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and
                                23
      Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 24 of 25




       other aspects ofsentencing, potential losses ofcivil rights and

       privileges, and other potential consequences ofpleading guilty

       in this case. The defendant agrees that the defendant is

       satisfied with the legal serrrices and advice provided to the

       defendant by the defendant's attorney.

    30. Deadline for Acceptance of Plea Asreement. The original of this

       Agreement must be signed by the defendant and defense

       counsel and received by the United States Attorney's Office on

       or before 5:00 p.m., July 30, 2021, otherwise the offer may, in

       the sole discretion of the Government, be deemed withdrawn.

    31. Required Sisnatures. None of the terms of this Agreement shall

       be binding on the Office of the United States Attorney for the

       Middle District of Pennsylvania until signed by the defendant

       and defense counsel and then signed by the United States

       Attorney or his designee.



     I have read this agreement and carefully reviewed every part ofit
with my attorney. I fully understand it and I voluntarily agree to it.

                                   24
        Case 1:21-cr-00100-CCC Document 45 Filed 08/04/21 Page 25 of 25




  7   n 2l
Date                                      JO  CICCHIELLO
                                          D ndant

        am the defendant's counsel. I have carefully reviewed every part
        I
of this agreement with the defendant. To my knowledge, my client's
decision to enter into this agreement is an        d d voluntary one.

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D.trl                                     D         MYSHIN
                                          C ounse I for Defen   t


                                          BRUCE D. BRANDLER
                                          Acting United States Attorney


 o8 o          20zl                 By:
Date                                      DARYLS. BLOOM
                                          Assistant United States Attorney


DFB/Ee/2020R00034fu1y 20, 2021
VERSION DATE: MaIch 8, 2021




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